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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ZACHARY GREENBERG,

                             Plaintiff,

                             v.
                                                                      No. 2:20-cv-03822-CFK

 JOHN P. GOODRICH, in his official capacity as Board
 Chair of The Disciplinary Board of the Supreme Court of
 Pennsylvania, et al.

                            Defendants.



                         STIPULATED LIST OF FACTS
                FOR PURPOSES OF SUMMARY JUDGMENT MOTIONS


       WHEREAS, Plaintiff Zachary Greenberg filed the Complaint in this matter on August 6,

2020; and

       WHEREAS, the Court issued a preliminary injunction enjoining enforcement of the

initial version of Pa. R. Prof. Cond. 8.4(g) (“Old 8.4(g)”) on December 8, 2020; and

       WHEREAS, Defendants appealed the preliminary injunction order to the Third Circuit,

but subsequently voluntarily dismissed their appeal in March 2021; and

       WHEREAS, the Supreme Court of Pennsylvania adopted a revised version of Rule 8.4(g)

(“New 8.4(g)” or just “8.4(g)”) on July 26, 2021; and

       WHEREAS, Greenberg filed an amended complaint (Dkt. 49) challenging New 8.4(g) on

August 19, 2021; and

       WHEREAS, Defendants filed an answer (Dkt. 50) to Greenberg’s amended complaint on

September 3, 2021; and




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        WHEREAS, the Court’s operative scheduling order (Dkt. 52) allows the parties to submit

a stipulated list facts and declarations for purposes of adjudicating upcoming summary judgment

motions.

        NOW, THEREFORE, the parties stipulate to the following facts for the purposes of

deciding the parties’ cross-motions for summary judgment.

        The inclusion of a fact in this list of stipulated facts or in a declaration is not an admission

that it is legally relevant, and the parties reserve the right to dispute the legal relevance of any

stipulated fact or declaration.

        In addition to this stipulation, Greenberg is filing one declaration and Defendants are

filing two declarations contemporaneous with this joint stipulation. These declarations may be

controverted through discovery that will be completed by November 1, 2021, in accordance with

the operative scheduling order.

                                  STIPULATED LIST OF FACTS



                                          THE PLAINTIFF

        1.      Plaintiff Zachary Greenberg is a citizen of Pennsylvania.

        2.      Greenberg graduated with a Juris Doctor degree from Syracuse University

College of Law in 2016.
        3.      Greenberg sat for and passed the Pennsylvania Bar Exam in February 2019 and

was admitted to the Pennsylvania Bar in May 2019.

        4.      Greenberg is an attorney who is currently a member of the Pennsylvania Bar in

good standing and of active status.

        5.      Greenberg works and resides in the City and County of Philadelphia.

        6.      Greenberg works as a Senior Program Officer for the Foundation for Individual

Rights in Education (“FIRE”), a non-profit organization that advocates on behalf of students’ and

faculty members’ constitutional rights.




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       7.      Greenberg’s job responsibilities include speaking, writing, publishing, and

educating about a variety of topics relevant to FIRE’s mission of defending and sustaining the

individual rights of students and faculty members at America’s colleges and universities. These

rights include freedom of speech, freedom of association, due process, legal equality, religious

liberty, and sanctity of conscience—essential liberties guaranteed by the United States

Constitution at public universities and by contract at private universities.

       8.      Greenberg is currently the National Secretary of the First Amendment Lawyers

Association (“FALA”), a not-for-profit, nationwide association of hundreds of attorneys devoted

to the protection of Free Expression under the First Amendment.

       9.      FALA regularly conducts CLE events for its members.

       10.     Greenberg has spoken at Continuing Legal Education (“CLE”) events on a variety

of legal issues, including the constitutionality of hate speech regulation, campaign finance speech

restrictions, university regulation of hateful expression online, and attorney free speech rights.

       11.     Greenberg has presented four CLE seminars—one in 2017, two in 2018, and one

in 2021—to attorney and non-attorney observers on the First Amendment’s limits on rules of

professional conduct, legal ethics, campaign finance restrictions, and university punishment of

hateful student speech.

       12.     In 2017, at a CLE at a FALA conference in San Diego, California, Greenberg
spoke to dozens of attorneys about Citizens United v. FEC, 558 U.S. 310 (2010).

       13.     In 2018, Greenberg spoke to dozens of attorneys about the First Amendment

limitations on rules of professional conduct and legal ethics related to the practice of law at a

CLE at a FALA conference in Denver, Colorado.

       14.     In 2018, at a CLE in Villanova, Pennsylvania, Greenberg spoke to attorneys,

parents, and students on his interpretation of the legal limits of a university’s power to punish

student online expression deemed offensive, prejudiced and hateful.




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       15.     In 2020 Greenberg was scheduled to speak at an accredited CLE hosted by FIRE

again on the topic of the Citizens United v. FEC, 558 U.S. 310 (2010), but this event was

cancelled due to the COVID-19 pandemic.

       16.     In 2021, at a virtual CLE hosted by FALA, Greenberg spoke on the conflict

between government ethics rules and attorneys’ First Amendment rights.

       17.     Greenberg intends and expects to continue speaking at similar events on similar

topics for the foreseeable future.

       18.     Greenberg intends and expects to speak at future CLE events on topics relating to

his work at FIRE, including the constitutionality of hate speech regulation, Title IX’s effect on

the Due Process rights of individuals accused of sexual assault, campaign finance speech

restrictions, university policies on fraternity and sorority misconduct, professorial academic

freedom, religious freedom on campuses, university regulation of hateful expression online,

attorney free speech rights, and alleged abusive public records requests.

                THE DEFENDANTS AND THE DISCIPLINARY PROCESS

       19.     Defendants John P. Goodrich, Esquire, Jerry M. Lehocky, Esquire, Celeste L.

Dee, Christopher M. Miller, Esquire, Gretchen A. Mundorff, Esquire, John C. Rafferty, Esquire,

Dion G. Rassias, Esquire, The Honorable Robert L. Repard, The Honorable Eugene F. Scanlon,

Jr., David S. Senoff, Esquire, Shohin H. Vance, Esquire, and Robert J. Mongeluzzi, Esquire, are
the members of the Disciplinary Board of the Supreme Court of Pennsylvania (the “Board”).

       20.     Goodrich is Board Chair.

       21.     Lehocky is Board Vice-Chair.

       22.     The Pennsylvania Constitution, Article V, § 10(c), vests authority in the Supreme

Court of Pennsylvania to prescribe general rules for practice and procedures of law within the

Commonwealth.

       23.     The Pennsylvania Supreme Court established the Board in 1972 to regulate

attorney conduct.




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       24.     One of the Board’s functions is to adjudicate actions prosecuted by the Office of

Disciplinary Counsel (“ODC”), which is charged with investigating complaints against

Pennsylvania-licensed attorneys for violating the Pennsylvania Rules of Professional Conduct

and, if necessary, charging and prosecuting attorneys under the Pennsylvania Rules of

Disciplinary Enforcement. See Pa.R.D.E. 205-08; Pa.D.Bd.R. §§ 93.21, 93.61.

       25.     Defendant Thomas J. Farrell, Esquire, is Chief Disciplinary Counsel of ODC.

       26.     Defendant Raymond S. Wierciszewski, Esquire, is Deputy Chief Disciplinary

Counsel of ODC.

       27.     The Chief Disciplinary Counsel and the Deputy Chief Disciplinary Counsel

supervise ODC.

       28.     Upon receipt of a complaint involving an attorney, ODC conducts an

investigation. The complaint is not a charging document, but a request to investigate an attorney.

       29.     If ODC determines that a complaint is frivolous or that policy or prosecutorial

discretion warrant dismissal, it may dismiss the complaint without issuing a DB-7 letter to the

attorney, which is a Request for Statement of Respondent’s Position.

       30.     If ODC issues a DB-7 letter, the attorney has thirty days to respond and offer a

statement of position. See Pa.D.B.R. 87.7(b). Failure to respond without good cause is grounds

for discipline. See Pa.R.D.E. 203(a)(7).
       31.     For calendar years 2016 to 2018, ODC received 11,822 complaints, which

resulted in 1,527 DB-7 letters, meaning that 87.1% of complaints did not result in a DB-7 letter

that required a formal response from the attorney. These numbers do not distinguish between

complaints made by laypersons and complaints made by attorneys.

       32.     Submitting a complaint requires filling out a two-page form and submitting it on

the Board’s website (padisciplinaryboard.org) or in paper form.

       33.     The online complaint form states that ODC and the Board “are required to

maintain the confidentiality of complaints and related investigations and proceedings unless and
until one of the exceptions to confidentiality, as set forth in Enforcement Rule 402, applies. ODC


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staff may interview the respondent-attorney or other persons who may have information that is

relevant to your complaint, and may disclose information when disclosure is permitted or

required by Court or Board Rules.”

        34.      The online complaint form states that “Enforcement Rule 209(a) provides that any

person who communicates with Disciplinary Counsel or the Board relating to misconduct by a

respondent-attorney or gives testimony before a hearing committee or special master in a

proceeding conducted pursuant to the Enforcement Rules, shall be immune from civil suit based

upon such communication or testimony.”

        35.      As part of its investigation of a complaint, Disciplinary Counsel may obtain a

subpoena to compel the respondent-attorney to produce records and documents. See

Pa.R.D.E. 213.

        36.      If, after an investigation and serving a DB-7 letter, ODC determines that some

form of discipline is appropriate, multiple layers of review exist. ODC drafts a Form DB-3, a

“Referral of Complaint to Reviewing Hearing Committee Member.” The DB-3 recommends

either private discipline, public reprimand, or the filing of a petition for discipline.

        37.      The DB-3 summarizes the results of the investigation and describes the

respondent attorney’s response to the charges in the DB-7 (the Request for Statement of

Respondent’s Position). It cites the applicable rules of professional conduct and how the
investigation demonstrates that the respondent violated specific rules. After considering the

severity of the misconduct as compared to precedent, the respondent’s history of prior discipline,

and any other aggravating or mitigating circumstances, the DB-3 concludes with a

recommendation of private discipline or a public reprimand or the filing of a petition for

discipline (which is used only for seeking suspension or disbarment).

        38.      The Counsel in Charge of the District reviews the recommendation and, if they

concur, drafts a recommendation to accompany the DB-3, which is reviewed by ODC’s Chief

Disciplinary Counsel, Thomas Farrell, Esquire, prior to seeking discipline.




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       39.     Unless an attorney consents to discipline or resigns, if the DB-3 is approved, a

hearing committee member reviews and approves or disapproves of the proposed disposition.

See Pa.R.D.E. 208(a)(3). A three-member Disciplinary Board panel reviews recommendations

for private and public reprimands. See Pa.R.D.E. 208(a)(5); Pa.D.B.R. § 87.34.

       40.     If the matter is approved for informal admonition, private or public reprimand, the

attorney is notified. If the attorney does not consent to the disposition, they have the right to

insist on the filing of a petition for discipline, which then proceeds to a hearing before a hearing

committee and review by the Disciplinary Board and possibly the Supreme Court of

Pennsylvania. See Pa.R.D.E. 208(a)(6).

       41.     If the reviewing Hearing Committee member approves the filing of a petition for

discipline, ODC Disciplinary Counsel drafts the petition and sends it to the District's Counsel in

Charge and Deputy Chief Disciplinary counsel for review and approval. In cases where ODC

seeks a suspension or the respondent-attorney chooses to contest a lesser form of discipline, the

petition for discipline is then served on the attorney. The petition for discipline and answer

become public when the attorney answers the petition or when the time to answer expires

without the filing of an answer. Pa. R.D.E. 402(a)(1), (2). The case proceeds to a hearing before

a Hearing Committee and then de novo review by the Disciplinary Board and the Supreme Court

of Pennsylvania. See Pa.R.D.E. 208(b).

             PENNSYLVANIA RULE OF PROFESSIONAL CONDUCT 8.4(G)

       42.     In November 2016, the Pennsylvania Bar Association House of Delegates, after

consideration by the PBA Legal Ethics and Professional Responsibility Committee and the

Commission on Women in the Profession, approved a recommendation that the Supreme Court

of Pennsylvania adopt an anti-discrimination and anti-harassment rule of professional conduct.

       43.     In December 2016, the Board published for comment proposed amendments to

Pennsylvania’s Rule 8.4. See 46 Pa.B. 7519 (Dec. 3, 2016).




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         44.   Following comments and further review, the Board revised the proposed

amendments to Rule 8.4. The Board published its revised proposal for comment in 2018. See 48

Pa.B. 2936 (May 19, 2018).

         45.   In August 2019, the Board again revised its proposed amendment, which it

published for comment. See 49 Pa.B. 4941 (Aug. 31, 2019).

         46.   The Board stated in its August 2019 notice that “it is in the best interests of the

profession and the public” to “formally disapprove” of a lawyer’s conduct in the practice of law

that “knowingly manifests bias or prejudice, or engages in harassment or discrimination.” Id. The

Board further stated that “[t]he proposed rule promotes the profession’s goal of eliminating

intentional harassment and discrimination, assures that the legal profession functions for all

participants, and affirms that no lawyer is immune from the reach of law and ethics.” Id.

         47.   After the final iterative process of notice and comment, the Supreme Court of

Pennsylvania on June 8, 2020, approved the recommendation of the Board and ordered that

Pennsylvania Rule of Professional Conduct 8.4 be amended to include Old 8.4(g), along with

Comments Three and Four, to take effect on December 8, 2020. See 50 Pa.B. 3011 (June 20,

2020).

         48.   Justice Mundy dissented from the adoption of Old 8.4(g).

         49.   On December 8, 2020, this Court issued a preliminary injunction enjoining
enforcement of Old 8.4(g). Dkts. 29, 31.

         50.   Defendants appealed the preliminary injunction order to the Third Circuit, but

subsequently voluntarily dismissed their appeal in March 2021.

         51.   After their April 13, 2021 meeting, Defendants forwarded to the Pennsylvania

Supreme Court recommendations regarding amendments to Old 8.4(g).

         52.   On July 26, 2021, the Pennsylvania Supreme Court adopted amendments and

approved New 8.4(g), superseding Old 8.4(g). See Dkt. 45-1.

         53.   Justice Mundy dissented from the adoption of New 8.4(g).




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       54.     New 8.4(g) did not go through a public notice and comment procedure. The

amendments were adopted under Pa.R.J.A. 103(a)(3).

       55.     New 8.4(g) was set to take effect on August 25, 2021.

       56.     Pursuant to stipulation of the parties, Defendants have agreed to forebear from

enforcement of New 8.4(g) until this Court has rendered a decision on the cross-motions for

summary judgment and to not retroactively enforce Rule 8.4(g) against alleged violations during

that forbearance period. Dkt. 46 at 2.

       57.     New 8.4(g) reads as follows:

               It is professional misconduct for a lawyer to:

                   ***

                       (g) in the practice of law, knowingly engage in conduct constituting
                       harassment or discrimination based upon race, sex, gender identity
                       or expression, religion, national origin, ethnicity, disability, age,
                       sexual orientation, marital status, or socioeconomic status. This
                       paragraph does not limit the ability of a lawyer to accept, decline or
                       withdraw from a representation in accordance with Rule 1.16. This
                       paragraph does not preclude advice or advocacy consistent with
                       these Rules.
       58.     Comment 3 to New 8.4(g) reads as follows:

                       For the purposes of paragraph (g), conduct in the practice of law
                       includes (1) interacting with witnesses, coworkers, court personnel,
                       lawyers, or others, while appearing in proceedings before a tribunal
                       or in connection with the representation of a client; (2) operating or
                       managing a law firm or law practice; or (3) participation in judicial
                       boards conferences, or committees; continuing legal education
                       seminars; bench bar conferences; and bar association activities
                       where legal education credits are offered. The term “the practice of
                       law” does not include speeches, communications, debates,
                       presentations, or publications given or published outside the
                       contexts described in (1)-(3).




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          59.   Comment 4 to New 8.4(g) reads as follows:

                       “Harassment” means conduct that is intended to intimidate,
                       denigrate or show hostility or aversion toward a person on any of
                       the bases listed in paragraph (g). “Harassment” includes sexual
                       harassment, which includes but is not limited to sexual advances,
                       requests for sexual favors, and other conduct of a sexual nature that
                       is unwelcome.
          60.   Comment 5 to New 8.4(g) reads as follows:

                       “Discrimination” means conduct that a lawyer knows manifests an
                       intention: to treat a person as inferior based on one or more of the
                       characteristics listed in paragraph (g); to disregard relevant
                       considerations of individual characteristics or merit because of one
                       or more of the listed characteristics; or to cause or attempt to cause
                       inference with the fair administration of justice based on one or more
                       of the listed characteristics.
                               PLAINTIFF’S FUTURE PLANS

          61.   Greenberg plans to remain a member of the Pennsylvania Bar for the foreseeable

future.

          62.   Greenberg plans to continue speaking at CLE events on topics like those

discussed above in ¶¶ 10-18, pursuant to the expectations of his employer, his professional

organization memberships, and his personal interests.
          63.   During his CLE presentations, Greenberg provides a detailed summation of what

some consider hateful speech that courts have held to be protected by the First Amendment,

including a walkthrough of prominent, precedential First Amendment cases.

          64.   This summation covers, among other cases: Matal v. Tam, 137 S. Ct. 1744 (2017)

(addressing trademark protection for the band called the “Slants”—a common racial epithet for

persons of Asian descent); Snyder v. Phelps, 562 U.S. 443 (2011) (considering the right of

picketers carrying such signs as “God Hates Fags” and “Priests Rape Boys”); Papish v. Board of

Curators of the University of Missouri, 410 U.S. 667, 667-68 (1973) (upholding as protected
speech a student newspaper’s front-page use of the vulgar headline “Motherfucker Acquitted”


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and a “political cartoon . . . depicting policemen raping the Statue of Liberty and the Goddess of

Justice.”); Dambrot v. Central Michigan University, 55 F.3d 1177 (6th Cir. 1995) (invalidating

campus speech code in a case involving the coach’s utterance of a racial epithet in a college

basketball locker room). The Dambrot opinion uses the racial epithet nineteen times.

       65.     These walkthroughs analyze the facts of the cases with explicit reference to, and

mention of the exact speech at issue. They also discuss the outcome of the case, including a

discussion of whether the cases were correctly decided, and the larger societal implications of the

decisions.




Dated: October 1, 2021

Respectfully submitted,

/s/ Adam E. Schulman
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                               CERTIFICATE OF SERVICE

I hereby certify that on this day I filed the foregoing with the Clerk of the Court via ECF thus
effectuating service on all counsel who are registered as electronic filers in this case.



DATED: October 1, 2021


                                                           (s) Adam Schulman
                                                           Adam Schulman




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